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                                                                                             FILED
                                                                                           July 28, 2023
                                                                                      CLERK, U.S. DISTRICT COURT
                       IN THE UNITED STATES DISTRICT COURT                            WESTERN DISTRICT OF TEXAS
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION
                                                                                                     so
                                                                                   BY: ________________________________
                                                                                                           DEPUTY



                                                         Case No. 1:21-cv-00138-RP
 IN RE SOLARWINDS CORPORATION
 SECURITIES LITIGATION                                   CLASS ACTION




       [PROPOSED] JUDGMENT APPROVING CLASS ACTION SETTLEMENT

       WHEREAS, a consolidated securities class action is pending in this Court entitled In re

SolarWinds Corporation Securities Litigation, Case No. 1:21-cv-138-RP (the “Action”);

       WHEREAS, lead plaintiff New York City District Council of Carpenters Pension Fund

(“Lead Plaintiff”), on behalf of itself and the Settlement Class (defined below); and (b) defendants

SolarWinds Corporation (“SolarWinds” or the “Company”), Kevin B. Thompson, Timothy

Brown, Silver Lake Group L.L.C., Silver Lake Technology Management, L.L.C., and Thoma

Bravo, LP (together with SolarWinds, “Defendants”, and with Lead Plaintiff, the “Parties”) have

entered into a Stipulation and Agreement of Settlement dated November 28, 2022 (the

“Stipulation”), that provides for a complete dismissal with prejudice of the claims asserted against

Defendants in the Action on the terms and conditions set forth in the Stipulation, subject to the

approval of this Court (the “Settlement”);

       WHEREAS, unless otherwise defined in this Judgment, the capitalized terms herein shall

have the same meaning as they have in the Stipulation;

       WHEREAS, by Order dated February 8, 2023 (the “Preliminary Approval Order”), this

Court: (a) found, pursuant to Rule 23(e)(1)(B) of the Federal Rules of Civil Procedure, that it
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(i) would likely be able to approve the Settlement as fair, reasonable, and adequate under Rule

23(e)(2) and (ii) would likely be able to certify the Settlement Class for purposes of the Settlement;

(b) ordered that notice of the proposed Settlement be provided to potential Settlement Class

Members; (c) provided Settlement Class Members with the opportunity either to exclude

themselves from the Settlement Class or to object to the proposed Settlement; and (d) scheduled a

hearing regarding final approval of the Settlement;

       WHEREAS, due and adequate notice has been given to the Settlement Class;

       WHEREAS, the Court conducted a hearing on July 28, 2023 (the “Settlement Fairness

Hearing”) to consider, among other things, (a) whether the terms and conditions of the Settlement

are fair, reasonable, and adequate to the Settlement Class, and should therefore be approved; and

(b) whether a judgment should be entered dismissing the Action with prejudice as against the

Defendants; and

       WHEREAS, the Court having reviewed and considered the Stipulation, all papers filed and

proceedings held herein in connection with the Settlement, all oral and written comments received

regarding the Settlement, and the record in the Action, and good cause appearing therefor;

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED:

       1.      Jurisdiction – The Court has jurisdiction over the subject matter of the Action, and

all matters relating to the Settlement, as well as personal jurisdiction over all of the Parties and

each of the Settlement Class Members.

       2.      Incorporation of Settlement Documents – This Judgment incorporates and makes

a part hereof: (a) the Stipulation filed with the Court on December 8, 2022; and (b) the Notice and

the Summary Notice, both of which were filed with the Court on June 23, 2023.




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       3.      Class Certification for Settlement Purposes – The Court hereby certifies for the

purposes of the Settlement only, the Action as a class action pursuant to Rules 23(a) and (b)(3) of

the Federal Rules of Civil Procedure on behalf of the Settlement Class consisting of all persons

who purchased or otherwise acquired the common stock of SolarWinds from October 18, 2018

through December 17, 2020, inclusive (the “Class Period”), and who were damaged thereby (the

“Settlement Class”). Excluded from the Settlement Class are: (i) Defendants; (ii) any current or

former officers or directors of any Defendant who served in such capacities during the Class

Period; (iii) members of the immediate family of each of the Individual Defendants or any current

or former officer or director of any Defendant who served in such capacities during the Class

Period; (iv) any entity that any excluded person owns or controls or owned or controlled during

the Class Period; (v) any affiliates, parents, or subsidiaries of any Defendant; and (vi) the legal

representatives, heirs, successors, and assigns of any such excluded persons.

       4.      Settlement Class Findings – For purposes of the Settlement only, the Court finds

that each element required for certification of the Settlement Class pursuant to Rule 23 of the

Federal Rules of Civil Procedure has been met: (a) the members of the Settlement Class are so

numerous that their joinder in the Action would be impracticable; (b) there are questions of law

and fact common to the Settlement Class which predominate over any individual questions; (c) the

claims of Lead Plaintiff in the Action are typical of the claims of the Settlement Class; (d) Lead

Plaintiff and Lead Counsel have and will fairly and adequately represent and protect the interests

of the Settlement Class; and (e) a class action is superior to other available methods for the fair

and efficient adjudication of the Action.

       5.      Pursuant to Rule 23 of the Federal Rules of Civil Procedure, and for the purposes

of the Settlement only, the Court hereby certifies Lead Plaintiff New York City District Council




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of Carpenters Pension Fund as Class Representative for the Settlement Class and appoints Lead

Counsel Bernstein Litowitz Berger & Grossmann LLP as Class Counsel for the Settlement Class.

The Court finds that Lead Plaintiff and Lead Counsel have fairly and adequately represented the

Settlement Class both in terms of litigating the Action and for purposes of entering into and

implementing the Settlement and have satisfied the requirements of Federal Rules of Civil

Procedure 23(a)(4) and 23(g), respectively.

       6.      Notice – The Court finds that the dissemination of the Notice and the publication

of the Summary Notice: (a) were implemented in accordance with the Preliminary Approval

Order; (b) constituted the best notice practicable under the circumstances; (c) constituted notice

that was reasonably calculated, under the circumstances, to apprise Settlement Class Members of

(i) the pendency of the Action; (ii) the effect of the proposed Settlement (including the Releases

to be provided thereunder); (iii) Lead Counsel’s motion for an award of attorneys’ fees and

Litigation Expenses; (iv) their right to object to any aspect of the Settlement, the Plan of Allocation,

and/or Lead Counsel’s motion for attorneys’ fees and Litigation Expenses; (v) their right to

exclude themselves from the Settlement Class; and (vi) their right to appear at the Settlement

Fairness Hearing; (d) constituted due, adequate, and sufficient notice to all persons and entities

entitled to receive notice of the proposed Settlement; and (e) satisfied the requirements of Rule 23

of the Federal Rules of Civil Procedure, the United States Constitution (including the Due Process

Clause), the Private Securities Litigation Reform Act of 1995, 15 U.S.C. § 78u-4, as amended, and

all other applicable law and rules.

       7.      Final Settlement Approval and Dismissal of Claims – Pursuant to, and in

accordance with, Rule 23(e)(2) of the Federal Rules of Civil Procedure, this Court hereby fully

and finally approves the Settlement set forth in the Stipulation in all respects (including, without




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limitation: the amount of the Settlement; the Releases provided for therein; and the dismissal with

prejudice of the claims asserted against Defendants in the Action), and finds that the Settlement is,

in all respects, fair, reasonable, and adequate to the Settlement Class. Specifically, the Court finds

that: (a) Lead Plaintiff and Lead Counsel have adequately represented the Settlement Class; (b) the

Settlement was negotiated by the Parties at arm’s length; (c) the relief provided for the Settlement

Class under the Settlement is adequate taking into account the costs, risks, and delay of trial and

appeal; the proposed means of distributing the Settlement Fund to the Settlement Class; and the

proposed attorneys’ fee award; and (d) the Settlement treats members of the Settlement Class

equitably relative to each other. The Parties are directed to implement, perform, and consummate

the Settlement in accordance with the terms and provisions contained in the Stipulation.

       8.      The Action and all of the claims asserted against Defendants in the Action by Lead

Plaintiff and the other Settlement Class Members are hereby dismissed with prejudice. The Parties

shall bear their own costs and expenses, except as otherwise expressly provided in the Stipulation.

       9.      Binding Effect – The terms of the Stipulation and of this Judgment shall be forever

binding on Defendants, Lead Plaintiff, and all other Settlement Class Members (regardless of

whether or not any individual Settlement Class Member submits a Claim Form or seeks or obtains

a distribution from the Net Settlement Fund), as well as their respective successors and assigns.

       10.     Releases – The Releases set forth in paragraphs 5 and 6 of the Stipulation, together

with the definitions contained in paragraph 1 of the Stipulation relating thereto, are expressly

incorporated herein in all respects.      The Releases are effective as of the Effective Date.

Accordingly, this Court orders that:

               (a)     Without further action by anyone, and subject to paragraph 11 below, upon

the Effective Date of the Settlement, Lead Plaintiff and each of the other Settlement Class




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Members, on behalf of themselves, and their respective heirs, executors, administrators,

predecessors, successors, and assigns in their capacities as such only, and any other person or entity

purporting to claim through or on behalf of them directly or indirectly in such capacity only, shall

be deemed to have, and by operation of law and of this Judgment shall have, fully, finally, and

forever compromised, settled, released, resolved, relinquished, waived, and discharged any or all

of the Released Plaintiff’s Claims against Defendants and the other Defendants’ Releasees, and

shall forever be barred and enjoined from prosecuting or otherwise pursuing whether directly or

in any other capacity, any or all of the Released Plaintiff’s Claims against any of the Defendants’

Releasees. This Release shall not apply to any of the Excluded Plaintiff’s Claims (as that term is

defined in paragraph 1(t) of the Stipulation).

                (b)    Without further action by anyone, and subject to paragraph 11 below, upon

the Effective Date of the Settlement, Defendants, on behalf of themselves, and their respective

heirs, executors, administrators, predecessors, successors, and assigns in their capacities as such

only, and any other person or entity purporting to claim through or on behalf of them directly or

indirectly in such capacity only, shall be deemed to have, and by operation of law and of this

Judgment shall have, fully, finally, and forever compromised, settled, released, resolved,

relinquished, waived, and discharged any or all of the Released Defendants’ Claims against Lead

Plaintiff and the other Plaintiff’s Releasees, and shall forever be barred and enjoined from

prosecuting or otherwise pursuing whether directly or in any other capacity, any or all of the

Released Defendants’ Claims against any of the Plaintiff’s Releasees. This Release shall not apply

to any of the Excluded Defendants’ Claims (as that term is defined in paragraph 1(s) of the

Stipulation).




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       11.       Notwithstanding paragraphs 10(a) – (b) above, nothing in this Judgment shall bar

any action by any of the Parties to enforce or effectuate the terms of the Stipulation or this

Judgment.

       12.       Rule 11 Findings – The Court finds and concludes that the Parties and their

respective counsel have complied in all respects with the requirements of Rule 11 of the Federal

Rules of Civil Procedure in connection with the institution, prosecution, defense, and settlement

of the Action.

       13.       No Admissions – Neither this Judgment, the Term Sheet, the Stipulation (whether

or not consummated), including the exhibits thereto and the Plan of Allocation contained therein

(or any other plan of allocation that may be approved by the Court), the negotiations leading to the

execution of the Term Sheet and the Stipulation, nor any proceedings taken pursuant to or in

connection with the Term Sheet, the Stipulation, and/or approval of the Settlement (including any

arguments proffered in connection therewith):

                 (a)    shall be offered against any of the Defendants’ Releasees as evidence of, or

construed as, or deemed to be evidence of any presumption, concession, or admission by any of

the Defendants’ Releasees with respect to the truth of any fact alleged by Lead Plaintiff or the

validity of any claim that was or could have been asserted or the deficiency of any defense that has

been or could have been asserted in this Action or in any other litigation, or of any liability,

negligence, fault, or other wrongdoing of any kind of any of the Defendants’ Releasees, or in any

way referred to for any other reason as against any of the Defendants’ Releasees, in any arbitration

proceeding or other civil, criminal, or administrative action or proceeding, other than such

proceedings as may be necessary to effectuate the provisions of the Stipulation;




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               (b)     shall be offered against any of the Plaintiff’s Releasees as evidence of, or

construed as, or deemed to be evidence of any presumption, concession, or admission by any of

the Plaintiff’s Releasees that any of their claims are without merit, that any of the Defendants’

Releasees had meritorious defenses, or that damages recoverable under the Complaint would not

have exceeded the Settlement Amount, or with respect to any liability, negligence, fault, or

wrongdoing of any kind, or in any way referred to for any other reason as against any of the

Plaintiff’s Releasees, in any arbitration proceeding or other civil, criminal, or administrative action

or proceeding, other than such proceedings as may be necessary to effectuate the provisions of the

Stipulation;

               (c)     shall be offered as evidence of, or construed as evidence of, any

presumption, concession, or admission that class certification is appropriate in this Action, except

for purposes of this Settlement; or

               (d)     shall be construed against any of the Releasees as an admission, concession,

or presumption that the consideration to be given under the Settlement represents the amount

which could be or would have been recovered after trial;

provided, however, that the Parties and the Releasees and their respective counsel may refer to this

Judgment and the Stipulation to effectuate the protections from liability granted hereunder and

thereunder or otherwise to enforce the terms of the Settlement.

       14.     Retention of Jurisdiction – Without affecting the finality of this Judgment in any

way, this Court retains continuing and exclusive jurisdiction over: (a) the Parties for purposes of

the administration, interpretation, implementation, and enforcement of the Settlement; (b) the

disposition of the Settlement Fund; (c) any motion for an award of attorneys’ fees and/or Litigation

Expenses by Lead Counsel in the Action that will be paid from the Settlement Fund; (d) any motion




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to approve the Plan of Allocation; (e) any motion to approve the Class Distribution Order; and

(f) the Settlement Class Members for all matters relating to the Action.

       15.     Separate orders shall be entered regarding approval of a plan of allocation and the

motion of Lead Counsel for an award of attorneys’ fees and Litigation Expenses. Such orders shall

in no way affect or delay the finality of this Judgment and shall not affect or delay the Effective

Date of the Settlement.

       16.     Modification of the Agreement of Settlement – Without further approval from

the Court, Lead Plaintiff and Defendants are hereby authorized to agree to and adopt such

amendments or modifications of the Stipulation or any exhibits attached thereto to effectuate the

Settlement that: (a) are not materially inconsistent with this Judgment; and (b) do not materially

limit the rights of Settlement Class Members in connection with the Settlement. Without further

order of the Court, Lead Plaintiff and Defendants may agree to reasonable extensions of time to

carry out any provisions of the Settlement.

       17.     Termination of Settlement – If the Settlement is terminated as provided in the

Stipulation or the Effective Date of the Settlement otherwise fails to occur, this Judgment shall be

vacated and rendered null and void, and shall be of no further force and effect, except as otherwise

provided by the Stipulation, and this Judgment shall be without prejudice to the rights of Lead

Plaintiff, the other Settlement Class Members, and Defendants, and Lead Plaintiff and Defendants

shall revert to their respective positions in the Action as of immediately prior to the Parties’

agreement in principle on October 26, 2022, as provided in the Stipulation.

       18.     Entry of Final Judgment – There is no just reason to delay the entry of this

Judgment as a final judgment in this Action. Accordingly, the Clerk of the Court is expressly

directed to immediately enter this final judgment in this Action.




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SO ORDERED this 28th day of July, 2023.



                                _______________________________________
                                       The Honorable Robert Pitman
                                        United States District Judge




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